        Case 1:14-cv-00958-ESH Document 112-1 Filed 02/04/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                  )
                                        )
                Plaintiff,              )
                                        )
v.                                      )    Civil Action No. 14–0958 (RMC)
                                        )
NATIONAL INDIAN GAMING                  )
COMMISSION, et al.,                     )
                                        )
                Defendants.             )
                                        )

                                             ORDER

        Having considered the Plaintiff’s Consent Motion for Modification of Briefing Schedule,

and the premises of this case, it is, this   day of February, 2019,

        ORDERED, that Plaintiff’s Consent Motion be, and same hereby is, GRANTED;

and it is

        FURTHER ORDERED, that the briefing schedule is hereby modified as follows:

                1. Plaintiff’s Motion for Summary Judgment shall be filed on or before

                   March 22, 2019;

                2. Defendants’ Cross Motion for Summary Judgment and Response to

                   Plaintiff’s Motion for Summary Judgment shall be filed on or before

                   April 26, 2019;

                3. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

                    and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

                   Judgment shall be filed on or before May 24, 2019; and
       Case 1:14-cv-00958-ESH Document 112-1 Filed 02/04/19 Page 2 of 2




             4. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

                    Summary Judgment shall be filed on or before June 13, 2019.




                                             ROSEMARY M. COLLYER
                                             UNITED STATES DISTRICT JUDGE



Copies to Counsel
via ECF




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